                                   Case 17-33935-hdh7          Doc 158     Filed 01/30/20
                                                                                   FORM 1
                                                                                           Entered 01/30/20 12:33:18                                   Desc Main
                                                                         Document      Page 1 of 2
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       1
                                                                                      ASSET CASES
Case No:           17-33935     HDH    Judge: HARLIN D. HALE                                                             Trustee Name:                      ROBERT YAQUINTO, JR., TRUSTEE
Case Name:         CAGNEY GLOBAL LOGISTICS, INC.                                                                        Date Filed (f) or Converted (c):    10/19/17 (f)
                                                                                                                        341(a) Meeting Date:                11/28/17
For Period Ending: 12/31/19                                                                                             Claims Bar Date:                    02/27/18



                                   1                                    2                         3                          4                         5                                  6
                                                                                         Estimated Net Value
                                                                    Petition/       (Value Determined by Trustee,     Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                            Asset Description                      Unscheduled         Less Liens, Exemptions,           Abandoned                Received by              Gross Value of Remaining Assets
                (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)           OA=554(a) Abandon             the Estate

 1. VECTRA BANK                                                       145,918.91                       247,943.77                                          247,973.67                  FA
 2. CHASE BANK - CHECKING                                                   44.56                           44.56                                                0.00                  FA
 3. DEPOSITS, INCLUDING SECURITY & UTILITY DEPOSITS                    60,789.84                        60,789.84                                            5,000.00                  FA
     CITY OF MEXICO $5,000.00
     PROLOGIS - IRVING $36,853.84
     MAJESTIC REALTY CO $8,936.00
     BIAGIO, LP $10,000.00
 4. ACCOUNTS RECEIVABLE - 90 DAYS OLD OR LESS                        1,160,670.71                     1,160,670.71                                            914.10                   FA
     *AMENDED 12/06/2017
     90 DAYS OLD OR LESS FACE AMOUNT $1,197,352.68 -
     UNCOLLECTIBLE $36,681.97 = $1,160,670.71
 5. ACCOUNTS RECEIVABLE - OVER 90 DAYS OLD                            541,822.94                       541,822.94                                               12.10                  FA
 6. NON-PUBLICLY TRADED STOCKS/INTERESTS                                     0.00                             0.00                                               0.00                  FA
     CAGNEY EXPRESS, INC. - 100% OWNERSHIP - OPERATING
     LICENSE REVOKED
 7. OFFICE FURNITURE                                                   41,003.25                        41,003.25                                           29,178.02                  FA
     IRS CHARITY VALUE
 8. OFFICE FIXTURES                                                          0.00                             0.00                                               0.00                  FA
 9. OFFICE EQUIPMENT                                                         0.00                             0.00                                          39,868.47                  FA
 10. AUTOMOBILES/TRUCKS/VANS/TRAILERS                                  70,695.00                        70,695.00                                           26,045.44                  FA
 11. ANY BUILDING, OTHER IMPROVED REAL ESTATE                           Unknown                               0.00                                               0.00                  FA
 12. LICENSES/FRANCHISES AND ROYALTIES                                       0.00                             0.00                                               0.00                  FA
 13. INTERESTS IN INSURANCE POLICIES/ANNUITIES                          Unknown                               0.00                                               0.00                  FA
 14. CAUSES OF ACTION - CAGNEY VS. IAG                                 82,000.00                        82,000.00                                                0.00                  FA
     Breach of Contract
 15. OTHER CONTINGENT/UNLIQUIDATED CLAIMS                              34,300.00                        34,300.00                                                0.00                  FA




LFORM1                                                                                                                                                                                                Ver: 22.02c
                                        Case 17-33935-hdh7                      Doc 158   Filed 01/30/20
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     Aerotek v. Cagney Global - Brech of Contract
     25% of amount billed originall (setoff)
 16. INSURANCE REFUND (u)                                                                        0.00                            931.32                                              1,100.58                     FA
 17. PREFERENCE SETTLEMENTS (u)                                                                  0.00                          5,000.00                                            136,024.42                     FA
 18. MISCELLANEOUS REFUNDS (u)                                                                   0.00                            284.75                                               358.68                      FA
 19. FTC VS. DOTAUTHORITY LAWSUIT SETTLEMENT (u)                                                 0.00                             52.86                                                 52.86                     FA
 20. COMPTROLLER - REFUND (u)                                                                    0.00                          1,003.88                                                  0.00                     FA

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $2,137,245.21                     $2,246,542.88                                            $486,528.34                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   ASSETS SOLD. RECEIVABLES COLLECTED. ACCOUNTANT EMPLOYED. PREFERENCE CLAIMS AND ADVERSARY PROCEEDINGS COMPLETED.
   SETTLEMENTS REACHED AND APPROVED BY THE COURT. CLAIMS OBJECTIONS ARE IN PROCESS. ESTIMATED DATE OF CLOSING 05/31/2020.


   Initial Projected Date of Final Report (TFR): 10/01/18           Current Projected Date of Final Report (TFR): 05/31/20




LFORM1                                                                                                                                                                                                                           Ver: 22.02c
